                    CASE 0:20-cr-00181-PJS-BRT Doc. 108 Filed 12/15/20 Page 1 of 11
          I



     /                                                                                       RECEIVE
     t,                                                                                             DEC 1   I   2020
/i                                                                                          C.!FRK, U.S. DtSTfrlCT
                                                                                                                   cOU
                                        IJMTED STATES DISTRICT COURT                         MINNEAPOLIS, MINNESOT,
                                           DISTRICT OF MINNESOTA
                                         Case No. 20-CR- 18 I(IXPJSIBRT)

                 I]NMtsD STATES OT A]\{ERICA,

                                      Plainti4                     PLEAAGREEMENT A}.ID
                                                                   SENTENCING STIPI]I"4fi ONS
                       v.

                 DITLAI,I SHAffiSPEAXE ROBINSON,

                                  '   Defend.ant.

                      The Unitetl States of America and defend.ant DYI"AII SIIAKESPEARE

                ROBINSON (hereinafter referred to as the "defendand') agee to reeolve thie case on

                the terms and conditions that follow. Thig plea agreement binds onty tbe d.efendant

                and the United States Attorney's Office for the Distri.ct ofMinnesota @ereinafter "the

                Unitecl Statee" or "tlre Govemment"). This agreement does not bind any other Uniteil

                States Attorne/s OfEce or any other federal or state agency.

                      1.     Charges. The defendant      agr€es to plead   guilty to Count One of the

                Indichent which chalges the d.efendant with        Conspiracy   to Commit Arson, in
                violation of 18 U.S.C. $ 871. The defendant fully understands the natute and

                elements of the crime with which he hag been charged.

                      2.     Factual Basis. The defendant is ptreading guilty because he is iu fact
                guilty of Count One of the Indictment. Inpleading guilty, the defendant admits the

                following fiacts and,that thoee factg establish his guilt beyond a reaeonable doubt and

                constitute relevant conduct pursuant to the Uniteil States Sentencing Guidelines:




              Sry'{ ry                                                             oEc 1 82020
                                                                                q'lryunTrdpls
   CASE 0:20-cr-00181-PJS-BRT Doc. 108 Filed 12/15/20 Page 2 of 11




      On or about May 28, 2020, the defendant, along with others (collectively' the
nco-conspirators"), knowingly antl intentionally conspileq to damage and' destroy,

and attemFt to damage and. destroy, by means of file, the Minneapolis Police

Departnent Thfutl Precinct police station (hereafter the Thfud Preeinct
headquar.ter.s), a building used   in interstate or foreign   corIrmerce and   in   activiW

affecting interstate or foreign couunetoe.

       It   was part of the conspilaey that on May 28,2020, the defend'ant and other

initividuals gathered near the Thfud Presinct headquarters located                  at   3000


Minnehaha Avenue, Minneapolis,         in the Dietrict of Minneeota and tbereafter
collestively engaged    in conduct designed. to maliciously damage or destroy the
building by meane of a fire.

       Tle    itefendant voluntarily and. intentionally joined in th€ agreement with co-

conspiratore, eithel at the time it was first readred, or at some later time while it was

still in effect. At the tine the defendant joined in the agteement, the   ilefend'arrt knew

the purpose of the agreemen! which was to commit an act of areon at the Tbirit

Precinct headquarters. While the agreement was in effect, the defenilant antl other

co-conspirators eommitbe{ directly antl through otbers, certain overt acte,                in

firrtJrerance of the conspir.acy and to achieve its objecte, including but not limited' to

 the following:

        The d.efend.ant arrived alone in the alea of the Thiril Precinct beadquarters

 ilqxiirg the ilay on May 28,hOZO.The defendant joined a number of other protesters

 gathered. outside the Third Precinct headquartsxs, engaged.       in a largely peacefuI
     CASE 0:20-cr-00181-PJS-BRT Doc. 108 Filed 12/15/20 Page 3 of 11




protest. However, as ths day turneil into evening, tJre defendant and' oth'ers at the

Third Precinst headquarterg became moxe aggteseive. At one point, the defend'ant

hear.d.   many protesters shouting, "buln it ctown, burn    it   down " referr{ng to tbe Third'

Precinct headquarters. The defendant saw that a fence that had been erected-

g1111'sslding the Thir.rt Precinct headqualters was      torn down. The defendant joinecl

many others to breach the perimeter and enter the Thiril Precinct headquarters

eurtilage andbuilding

          The defendant, aegisted by an unidentifred. co-conepilator,        lit   an item being

held by the unidentified co-conspilator. This unidentified. co-conspilator then threw

the item toward ths Thfuil Precinst headquarters $'ith the intent that             it would start

a   fire or fueI an existing fire. At the time the r:nidentified. co-conspirator tblew the

item, the lbird Precinct headquarters were akeady significantly danaged by
multiBle fir'ee that had.been previously lit.

          Tbe MinneaBolis Police Depalhent ie an organization that participatee in

inter.etate soruuerc€. Specifically, the Minneapolis Police Departm'ent and the City

of Minneapolis conduct business        in interstate commerce, for example by purehasing

vehicles and otJrer equipment and supplies thlough interstate com"'etce. The

 activities of the Minneapolis Police Depar"tment and. the City of Minneapolis
 government      i:l enforcing laws also affest inter.state oonunerce.
           3,    Walver of Pretrial Motions. The defendant understands anil agrees

 that the defendant has certain rights to file pre-tr{al motions in thie caee. As part of

 thie plea agleement, and based. upon the concessions of the United States within this
      CASE 0:20-cr-00181-PJS-BRT Doc. 108 Filed 12/15/20 Page 4 of 11




plea agrcement ancttlre defendant howingly, wilingly, andvoluntar{ly gives up the

right to have any pending motions resolved and to frle any additional pre-trial
motions       in this case. The defendant        agrees     that by Pleading guilty, he          is

uritJrihawing any motions previously filed'.

         4,     Walver of Constitutional Trial Rights. The defendant underetande

that he hae the dght to go to trial. At tdal, the defendant would. be plesun'ed'
imocent, have the right to trial by jury or, with the consent of the United Statee and

of   the Court, to tdal by the Court,   tJre li.ght to   the assietance of cormsel, the right to

confront and. cr.osg-examine adverse witnesses, the right to subpoena witneseee to

testifr for the   defense, the   right to testify and present evidence,     and'   the right to be

protected.6.sp comFelled self-incrimination. The d.efendant understande that he hag

the right to an attorney at every stage of theee proceerlings        an{ if necessary,    one   will

be appointed to represent hirn. The defendant understands tJrat he has the right to

pereist in a plea of not guilty and, if he     d.oee so,   he would have the right to a public

and speedy tdal By pleading guilty, the defendant knowingly, willingly, and

voluntar{Iy waives each of these trial rights, except ths right to counsel. the

defend.ant understands that a guilty plea is a conplete and ftnal admission of guilt

an{ if the Court     accepts   the euilty plea, the Cour"t will a{iudge the defendant guilty

without atrial.

         5.      Adclitional Consequenoes. The              defend.ant understands      that as a

 result of his conviction, he couldbe agsessed the costs of plosecution antl expeli,enen




                                                 4
    CASE 0:20-cr-00181-PJS-BRT Doc. 108 Filed 12/15/20 Page 5 of 11




additional coffrcqlences, such as ttre loge of the uight to cany fitearms, tJre fight to

vote, and the right to hold public office.

       6.     Statnrtory Penalties. The defend.ant undelstands that Count One of

the Indistment      (title   18,   United States Code, Sestion 371) is a felony offense tJrat

carties the fo[ovring statrrtory penalties:

              a.       a maximum of 6 Years         inPrison;

              b.       a aupervised. r'elease     tern   of not more than   I   years;

              c,       a manimum fi.ne of $260,000;

               d.      assessment to the defendant of the costs of proeecution'
                       imprisonment, anrl supervision, as alefined' in 28 U.S. C. $$ 19180)
                       anil1920; anil

               e.       a mand.atory special assessment of $100           under   18   U.S'C.
                        S   8013(aX2XA).

       7,      Bevocation of Supervisod. Belease. Tbe defendantundergtands tJxat

if he were to violate any condition of supewised                  release, the defendant could be

sentenced    to an additional tern of imprisonment up to the length of the or{ginal
eupernised. release ter'm, subject to the statutory maximums set forbh                   in   18 U.S.C.


s e688.

       8.      Guidelines Calculations. The Bartiee acknowledge that the
defend.ant   will   be sentenced      in   accordance   with   18 U.S.C. S 3661, et seq, Nothing     in

this plea agreement shouldbe constnred to limit the parties fton Bresenting any and.

 all r.elevant evirlence to tJre Court at sentencing. The parties aleo admowlefue that

 the Court will consider the United States Sentencing Guidelines in deteruining tJre
   CASE 0:20-cr-00181-PJS-BRT Doc. 108 Filed 12/15/20 Page 6 of 11




apprcpdate sentence and stipulate to the fo[owing gr;ridelineg calculationg. The

parties stipulate to tbe fr[owing guiilelines calculations:

             a.     Bags Offense Level' The Bartios agree that the base offenge
                    Ievel is24. U.S.S.G. $ 2X1.1(a); $ rlKl.a(aXl).

                    spesifrc oftnse charastedstics. The parties agree t&at that no
                    speciffc offenee ctraracteristics aBply.

                    Chaoter I Adiushents. Tho partiee agrso that, o-tber t'han
                    u"""ptao." of responsibility, no otber Chapter I afir:stm'ente
                    appIv.

                    Acceotance of Regtonsibility. fhe government agfees to
                    recommeoa that the defend.ant receive a 2.level redustion for
                    acceptance of responsibility purguant to U.S.S.G. $ 881.1(a). As
                    the aefendant has timely notified the government of his intention
                    to enter a plea of guilty, the governnerrt agBee8 to recommend
                    that tbe aete"arnt receive an additional l-level rciluction
                    pureuant to u.s.s.G. $ 88L.1(b). TVbether theee redustions will
                    Le inposed shall be iletemineil by the couxt in ite discretion.
                    Ilowever, the deftndant undenetards and agrteg that the
                    governmenfs recommendations ane conclitioned' upon t'he
                    loltoo'ing (1) the deftndant testifr.es truthfuilv ilur{ns thechange
                     of plea and sentencing hearines; (2) tb ilesnil"ant provi<lea fulI,
                     complete and trrrthful information to tbe united states Probation
                     Office in the pre-sentence investigation; and (8) the tleftnilant
                     engages in no conduct inconsistent with acceptance of
                     responaibility before tJre time of sentencing, inclualing ftivologely
                     tlenyins facte in the Presentence Report. Nothing in this
                     agreement Umits tbs right of tlhe government pursuant to
                     u-.s.s.G. $ 881.1 and/or $ 3c1.1 to seeh rlenial of a redustion for
                     acceptance of reeponsibility or an enhancement for obetnrction of
                     justice shouLl tbe defendant move to withdraw hig guilW plea
                     afteritie ent€red.
              e.     Gr{minal Eigtory CateEorY. The parties believe that, at tbe time
                     of sentencing, the defend.ant will fall into Crimlnal Eistory
                     Category II. U.S.S.G. $ 4A1.1. This does not constitute a
                     stipulation, but a belief based on an asgessment of the
                     information cugently hown. The defend.anf,s actual eiminal
                     hiatory q.il related. status will be detexnineal by tJre Court baeeal
                     on the inftrmation presented. in the Presentenco Report and by
   CASE 0:20-cr-00181-PJS-BRT Doc. 108 Filed 12/15/20 Page 7 of 11




                   the parties at tJre time of sentencing. The defendant understand's
                   *ai U the preeentence investigation reveale any pr{or adglt or
                   juvenile
                   -historyunder        which should. be induded within his c'r{minal
                                   the u.s. sentencing Guirlelines, the defendant will
                             "uot"o""
                   be sentenced baseil on his tarre criminal history category, anil he
                   will not be permitted to withdraw fi'om thie Plea Agreement.
                   u.s.s.G. $ 4A1.1.

                   Guidelines Ranee CIefenee Position). If the afiustecl. offense
                   level is 2L, and. the criminal history category ls II, the
                   Sentencing Guidelines range is 41-61months of
                   imprlsonment

             g.    Fine Ranee. If tbe adjusted offense level is 21, the Sentencing
                   C"id"lit"; fine range is $16,000-$160,000' U'S'S'G' $ 681'2(c)'
             h f,ffiffi:trT?ff"iTi:Tffi1H:"i*#Ji
                          telm of I yeals. U.S.S.G. $ 6D1.2(aXZ)'
                  "e1".""
      g.     Discretion of the Court. The foregoing stipulations arebinding onthe

par.ties, but do not bind. the Probation Of&ce or the Court. The par"tiee understand'

that the Sentencing Guidelines are advisory,   amd   theil application is a matter that

falls eolelywithinthe Courfs discretion. The Courtwillmale ite own ctetermination

regarding the applicable Guidelines factors and the applicable criminal history

category. Tlre Corut may also depart from tJre aBplicabtre Guidelinee range.        ff the

Court or the Probation Office determinee that the applicable guideline cdculations

or the defendanf,s cr{minal history category ig clifferent from that stated' above, the

parties may not withdraw fr'om this agreement, anil the tlefendant will be eentenced

pursuant to the Courde iletermfurations.

       10.   Agreements as to Sentencing Recommend.ation. The palties are

free to recommend. whatever sentence they cleem appropriate. The parties reserve
   CASE 0:20-cr-00181-PJS-BRT Doc. 108 Filed 12/15/20 Page 8 of 11




the right to make a motion for departures ftrom the applicabte Guidelines range
pr:rsuaat to 18 U.S.C. $ B66g(a), to oppose any such motion made by the opposing

puty,    and.   to argue fur a sentence outgide the   applicabtre Cruidelines   range. If the

Cogr.t does not accept tbe sentencing recoqmendation of the parties, the d'efendant

will have   no r{ght to withdraw his guilty plea.

         11.     Speciat Assessment. The Guidelinee lequile payment of a special

asaegsment       in the amount of $100 for   each felony count of whie,h   the defendant is

convicted purruant to Guideline $ 6E1.3. The defentlant agrees to pay the special

aggesgment       atthe time of sentencilg.

         12, Restitution. The defendant understande and agrees that 18 U.S.C. $
8668, and tJre Mandatory Victim Restitution Act, 18 U.S.C. $ 3663Ao apply to this

case and    that the Court is r.equired to order the defendant to make restitution to the

victims of his cr.imes. Ttre defendant agrees that he owes restitution. The Defend'ant

agrees   that th€ loss amount to the City    of Minneapolis   is $12,000,000. Based' on this

agreement, the partiee waive arry evidentiary hearing on tbe iseue of restitution- The

defentlant reserr'es hie right to make legal arguments as to the amor:nt of restitution

to be paidby the tlefend.ant.

         Ttre defendant represents that he will fully and completeJ,y discloee to the

United Statee Attorne/e Offrce the exigtence and location of any aeeets iu which the

Defendrant he s any right,     title, or intereet. The defendant agrees to assist the Unitetl

 States in identiffing, locating, returning, and tranefelring assets for uee in payment

 of restitution and fines ordered by the Court. As part of this Agreement, the


                                                I
    CASE 0:20-cr-00181-PJS-BRT Doc. 108 Filed 12/15/20 Page 9 of 11




defendant   will   complete, under penalty of perjury, a financial disclosure      form-

provided by the United. States-lieting        all the ilefentlanf,s assets and financid

interests valued. at more than $1,000. The defendant agrees to provide updates with

any material changes in qilcumstances, ae describeit      in   18 U.S.C. $ 8664(k), which

ocsur prior to sentencing, within seven days of the event giving rise to the e,hangecl

circumstance. Tlre d.efendant e:rpressly autholizee the U.S. Attorney's Office to

obtain a cr.edit lepor.t on hirn to evaluate the defenclant s ability to satis& ary

finencial obligation imFoeed. by the Court.

       13. Forfeiture. The defendant agrees to for{eit to the Uniteil States,
pr:rsuant to 18 U.S.C. $ 982(aX2)(B), any ploperty constif,uting, or derived from,

proceeds obtained tlilectJy or indirnectly, as a result of his violation of 18 U.S.C. $ 971,

and.pursuant to L8 U.S.C. g 8A (c) and 28 U.S.g. $ 2461(c), any explosive materials

involve4 or qsetl, or intendedto be used, inthat violation. The Uniteil Statea resewes

its rightto seeka money judgmentfor{eiture, tofor{eitsubstitute asoets, andtofoffeit

any aclditional tlirectly forfeitable prcpeltry.

        L4.   'Waivers of Appeal and Collateral Attack. The defendant heueby

waives the right to appeal any non-julisdictional igsues. Tbis appeal waiver indudee,

but is not limited.to, the defendanf,s waiver of the right to appe* guilt or innocence,

 eentence and. r.eetitution, and the constitutionality of tbe statutes       to which the

 defend.art is plea,{ing guilry. The par"bies agroe, however, that excluded' from tJris

 waiver is an appeal by rtefrndant of the substantive reaeonablenese of a term of

 imprigonnent      above the   high end of the Guidetnee range determined.by the dishict
   CASE 0:20-cr-00181-PJS-BRT Doc. 108 Filed 12/15/20 Page 10 of 11




court. Tlre deftnclant algo waives tbe right to petition under 28 U.S.C.   $ 2266 except

based.rrpon a claim of ineffestive assistance of couneel'

         The deftnd.ant hae digsnsg€dtheee rtehts withthe tlef€ndanf,s attorney. The

alefendant understands the rights beine      waive{ ald the tlefendant waiveg      theee

rights knowinelv, intelligently, and voluntar{ly.

         The Uniteil States agrees to waive its right to appeal anSl sentence except the

government may appeal the subetantive reasonablenees of a teru. of impr{sonment

belorr the low end of the C'uidelines range determinedby the distuict court.

         15.   FOIA Bequests. The defendant waives all r{ghts to obtain, direcbly or

through others, informati,on about tbe investigation and. prosectrtion of thig      cage


under the Freedon 6f T,nftnrnation As[ and. tJre Privacy Ast of L974, 6 U'S'C' $$ 662,

66211.

         16.    Complete Agreement. This, along with any agteement siglrctl by the

partiee before entry of the plea, is tJre entire agreement and r:nderstanding between




                                             10
  CASE 0:20-cr-00181-PJS-BRT Doc. 108 Filed 12/15/20 Page 11 of 11




        the United Statee ard the debndant.


                                               ERICAII.IVIacDONALD
                                               Uniteil States AttorneY


           taLu2020
Date:
                                       BY:




Date:
             | y''/tr'lo



         //./ r'td
                                               Counsel for Defendant




                                          11
